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(COB 266) (voDsm13NonP(01/14)




                            UNITED STATES BANKRUPTCY COURT
                                          District of Colorado,
                                       HONORABLE Joseph G. Rosania Jr.

In re:
               Richard Joseph Darcy
               Nicole Lorraine Darcy
Debtor(s)
                                                        Case No.:       17−14090−JGR
                                                        Chapter:        13
SSN/TID
Nos.    xxx−xx−8764
        xxx−xx−3909


             ORDER DISMISSING CHAPTER 13 CASE PURSUANT TO U.S.C. § 1307(c)(2)
                              FOR NONPAYMENT OF FEES

    An Application to Pay Filing Fee in Installments was granted by order of this Court dated 5/5/2017 ,
establishing a schedule of installment payments for the filing fees. Debtor was provided notice that the
failure to make any designated payment timely may result in the forthwith dismissal of the case, unless a
timely objection to dismissal for non−payment is filed with the court within three (3) business days of the
specific installment payment deadline missed or a Notice of Possible Dividends has been filed by the
Trustee, then GPO 2015−1 applies. See, 11 U.S.C. § 707(a)(2), Fed.R.Bankr.P.1017(b) and L.B.R.
9014−1. As of the date of this order, the default has not been cured and this case should now be
dismissed.

   THEREFORE, IT IS ORDERED that, pursuant to 11 U.S.C. § 1307(c)(2), this case is hereby dismissed
for nonpayment of the filing fee required by 28 U.S.C. § 1930(a), as scheduled by the order of this Court.

  FURTHER ORDERED that the debtor is barred from payment of filing fees in installments in any
subsequently filed case.




Dated: 9/27/17                                        BY THE COURT:
                                                      s/ Joseph G. Rosania Jr.
                                                      United States Bankruptcy Judge
